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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                       CASE NO. 17-11213

                                                                        SECTION A

          DEBTOR                                                        CHAPTER 11


                   MOTION FOR ORDER APPROVING IMMATERIAL
                 MODIFICATIONS TO JOINT PLAN OF REORGANIZATION

          NOW INTO COURT, come First NBC Bank Holding Company (“Debtor”) and the

   Official Committee of Unsecured Creditors (“Committee”; and, with the Debtor, the “Plan

   Proponents”), who hereby move this Court for entry of an order approving immaterial

   modifications to the Second Amended Joint Chapter 11 Plan of Reorganization for First NBC

   Bank Holding Company Dated July 2, 2019 (“Joint Plan”) [Doc. 621]; and, in support thereof

   respectfully represent the following:

                                             Background

                                                   1.

          On May 11, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief under

   chapter 11 of title 11 of the U.S. Code (the “Bankruptcy Code”), commencing the above-captioned

   bankruptcy case (“Bankruptcy Case”). On May 23, 2017, the Committee was appointed by the

   Office of the U.S. Trustee.

                                                   2.

          Plan Proponents’ filed their Joint Plan on July 2, 2019.         The proposed immaterial

   modifications (“Plan Modifications”) represent plan revisions to address, primarily, the funding

   and/or procedural structure set forth in Article VI (“Means for Implementation of the Plan”) of the
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   Joint Plan, as such relates to initial plan distributions. In addition, the proposed modifications

   reflect a broader scope of legal, equitable and contractual rights retained by Class 8 – Series D

   Preferred Equity Interests.

                                             Relief Requested

                                                     3.

          By this Motion, Plan Proponents seek this Court’s approval of the Plan Modifications to

   the Joint Plan as indicated in the redlined Joint Plan, attached hereto as Exhibit A.

                                                     4.

          The changes to the Joint Plan, as proposed herein, are technical modifications and those

   reflecting a broader scope of rights for Class 8 Equity Interests. The Plan Proponents believe it is

   in the best interests of the Debtor’s estate and its creditors and equity interest holders to make such

   modifications in order to, inter alia, accurately reflect the structure for the means of

   implementation of the Joint Plan and to clarify any ambiguities or inconsistencies currently

   contained therein. The holders of claims against and equity interests in the Debtor’s estate will

   not receive worse treatment under the Joint Plan as a result of the proposed modifications

                                             Basis for Relief

                                                     5.

          Section 1127(a) of the Bankruptcy Code provides in pertinent part:

          The proponent of a plan may modify such plan at any time before confirmation, but
          may not modify such plan so that such plan as modified fails to meet the
          requirements of Section 1122 and 1123 of this title. After the proponent of a plan
          files a modification of such plan with the court, the plan as modified becomes the
          plan. 11 U.S.C. § 1127(a).
                                                   6.

          The proposed Plan Modifications do not alter the classification of Claims of the Joint Plan,

   and as such, do not implicate the classification rules of Section 1122 of the Bankruptcy Code.
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                                                      7.

           The proposed Plan Modifications comply with all provisions of Section 1123 of the

   Bankruptcy Code.

                                                      8.

           Rule 3019 of the Federal Rules of Bankruptcy Procedure provides in pertinent part:

           In a chapter 9 or chapter 11 case, after a plan has been accepted and before its
           confirmation, the proponent may file a modification of the plan. If the court finds
           after a hearing on notice to the trustee, any committee appointed under the Code,
           and any other entity designated by the court that the proposed modification does
           not adversely change the treatment of the claim of any creditor or the interest of
           any equity security holder who has not accepted in writing the modification, it shall
           be deemed accepted by all creditors and equity security holders who have
           previously accepted the plan. Fed. R. Bankr. 3019.

                                                      9.

           The proposed Plan Modifications do not adversely change the treatment of the Claims or

   Equity Interests of Classes 1, 2, 3A, 3B, 3C, 4, 5, 6, 7 or 8, nor do they materially alter the treatment

   accorded to such claims or interests. As such, the Plan Proponents maintain that the proposed Plan

   Modifications are non-material, and that no additional solicitation is required as a result of the

   requested modifications. See In re Cellular Info. Sys., Inc., 171 B.R. 926, 929 n.6 (Bankr. S.D.N.Y.

   1994) (nonmaterial modifications to plan do not require resolicitation); In re American Solar King

   Corp., 90 B.R. 808 (Bankr. W.D. Tex. 1988) (if modification did not materially impact claimant’s

   treatment, the change was not adverse to claimant and court can deem prior acceptance applied to

   amended plan); In re Dow Corning Corp., (E.D. Mich. 1999) 237 B.R. 374 (if modification does

   not adversely change treatment of the claim of creditors, no further solicitation is required).

           WHEREFORE, Plan Proponents’ respectfully request that this Court find, as part of the

   hearing on plan confirmation scheduled for September 4, 2019, that the proposed Plan

   Modifications, attached hereto as Exhibit A, are non-material within the meaning of Federal Rule
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   of Bankruptcy Procedure 3019; authorize the Plan Modifications to the Joint Plan without

   requiring the Plan Proponents to resolicit votes respecting the Joint Plan, as modified; and find that

   the “Joint Plan” shall mean the Joint Plan, as modified by the attached Plan Modifications; and for

   any and all other relief this Court deems necessary and proper.

                                                  Respectfully submitted,

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                                                  -and-

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                                                  Creditors of First NBC Bank Holding Company
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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                                  CASE NO. 17-11213

                    DEBTOR                                                         SECTION A

                                                                                   CHAPTER 11
                                         CERTIFICATE OF SERVICE
           I hereby certify that a copy of the foregoing Motion for Order Approving Immaterial

   Modifications to Joint Plan of Reorganization has been served via Email through this Court’s

   CM/ECF Electronic Notification System upon the following parties:

   Sam J. Alberts on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank sam.alberts@dentons.com

   Serajul Ferdows Ali on behalf of Interested Party United States of America/Treasury serajul.ali@usdoj.gov

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Unsecured Creditors' Committee
   baltazan@stewartrobbins.com

   Brian M. Ballay on behalf of Interested Party Directors and Former Directors Group
   bballay@bakerdonelson.com

   Jerry A. Beatmann on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
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   Ward Benson on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
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   Nicholas H. Berg on behalf of Interested Party Lawrence Blake Jones nberg@reasonoverllc.com

   Brandon A. Brown on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Christopher T. Caplinger on behalf of Creditor Lead Plaintiffs in Securities Class Action ccaplinger@lawla.com

   Edward Castaing, Jr. on behalf of Interested Party Ryan J. Ashton ecastaing@cclhlaw.com

   Robin B. Cheatham on behalf of Creditor Florida Parishes Bank cheathamrb@arlaw.com

   Leo D. Congeni on behalf of Interested Party Doug Smith, derivatively and on behalf of First NBC Bank Holding
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   Nancy Scott Degan on behalf of Interested Party Directors and Former Directors Group
   ndegan@bakerdonelson.com
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   Jonathan Edwards on behalf of Interested Party Mary Beth Verdigets and Jonathan.Edwards@alston.com

   Elizabeth J. Futrell on behalf of Creditor David W. Anderson efutrell@joneswalker.com

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   Aaron Benjamin Greenbaum on behalf of Interested Party Mary Beth Verdigets aaron.greenbaum@pjgglaw.com

   Jan Marie Hayden on behalf of Interested Party Lawrence Blake Jones jhayden@bakerdonelson.com

   John M. Landis on behalf of Creditor Gregory St. Angelo jlandis@stonepigman.com

   Michael E. Landis on behalf of Creditor Renewal Capital Company, LLC mlandis@gamb.law

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   David Rubin on behalf of Other Prof. Interested Party drubin@kswb.com

   Susan R. Sherrill-Beard on behalf of Interested Party U.S. Securities and Exchange Commission
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   Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov

   R. Patrick Vance on behalf of Creditor David W. Anderson pvance@joneswalker.com

   Stephen L. Williamson on behalf of Creditor Renewal Capital Company, LLC swilliamson@gamb.law

           Baton Rouge, Louisiana, this 30th day of August, 2019.

                                               /s/ Ashley D. Kujawa
                                                 Ashley D. Kujawa
